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UNITED sTATES DISTRICT COURT “ z_/ `9 0
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WESTERN DISTRICT OF TENNESSEE , as n
EASTERN DIVISION ` -» ‘ f / `“"'
DAVID LUGO, JUDGMENT IN A cleL cHsE
Plaintiff,
V.
coRRECTIoNS coRPoRATIoN CASE No= 1=02-1232-3
oF AMERICA, et al.,
Defendants.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered

IT lS SO ORDERED AND ADJUDGED that in accordance With the Agreed Order Of
Dismissal With Prejudice entered on July 6, 2005, this cause is hereby dismissed With prejudice.

~A ROVED:

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J. ANIEL BRFEN
'I‘EI) sTATEs DISTRICT COURT

   

THOMASM.GOLI.D

 

Clerk of Court

(By) Deputy Clerk

 

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Honorable J. Breen
US DISTRICT COURT

